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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
UNITED STATES OF AMERICA
No. 3:19-MJ-077-BT
V. FILED ECF
SANJAY NANDA
SECOND JOINT MOTION TO CONTINUE Tll\/IE TO INDICT
The Government and the Defendant, Sanj ay Nanda, again jointly move the Court
to continue for a period of 45 days the date by Which an indictment must be filed in this
case. ln support of this Joint Motion, the parties Would show the Court the following:

l. The Government filed a criminal complaint against the defendant in the Northern
District of Texas on January 25, 2019, alleging Violations of 18 U.S.C. § 1343, Wire
fraud.

2. The following day, January 26, 2019, Nanda Was arrested on the complaint in the
Eastern District of NeW Yorl< When he entered the country. See Dkt. No. 3, at 4. Later
that day Nanda appeared before a Magistrate Judge in the Eastern District of NeW Yorl<,
Who ordered Nanda released pending trial subject to a series of terms and conditions ]a'.
at 8-9.

3. The Speedy Trial Act (“the Act”), 18 U.S.C. §§ 3161 ~ 3174, provides that an

indictment must be filed “Within thirty days from the date on Which [the Defendant] Was

arrested . . . in connection With such charges.” Id. § 3161(b). On February 19, 2019, the

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parties jointly moved this Court to continue the deadline by which an indictment must be
returned in this case for a period of 45 days. Joint Motion to Continue Time to Indict,
Dl<rt. No. 4. Later that same day, this Court granted the parties’ motion and continued the
deadline for indictment until April 11, 2019. Order, Dkt. No. 5.

4. The parties, again, jointly request that the Court continue the date by which the
government must present this case to a Grand Jury for 45 days. The parties have been
working in good faith to resolve the case; among other things, the government is working
to confirm information provided by the defendant that may materially affect the
provisions of the plea agreement The parties believe, therefore, that extending the §
3161(b) deadline will afford them sufficient time to complete a plea deal, negating the
need for a grand jury indictment

5. Granting this continuance, therefore, will be in the interest of judicial economy,
serve the ends ofjustice, and would outweigh the interest of the public in a speedy trial.
See 18 U.S.C. § 3161(h)(7)(A). The parties also represent that they do not make this
request in an effort to unduly delay the proceedings, but rather in an effort to insure that
justice is achieved Failure to grant the requested continuance would deny the parties the
time necessary for effective preparation, taking into account the exercise of due diligence,
see z'd. § 31 61 (h) (7) (B) (z'v), and return of an indictment within the time set by this Court’s
February 19, 2019, Order could result in a miscarriage ofjustice. See z'd. §

3161(11)(7)(13)(1).

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6. The defendant acknowledges that he is aware the Act affords him certain rights,
including, specifically, the right under § 3161(b) to require the government to obtain and
file an indictment on or before the date specified in this Court’s Order dated February 19,
2019. See Dkt. No. 5. He further acknowledges and confirms that, notwithstanding this
provision, he knowingly and intentionally waives any right under § 3161(b) to have an
indictment returned on or before the date specified in the Court’s Order.

7. For the reasons set forth above, the parties respectfully request that this Court
continue the date by which an indictment must be filed in this case for an additional 45

days, until on or about May 24, 2019.

Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

 

 

AGREED TO BY:

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PAUL YA TCH SANJAY NANDA
Assistant Unite States Attorney Defendant

”?w/QMM_FM

ROBERT R. ITH
Attorney forD ndant

 

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